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                         IN THE LTNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF ALABAMA                    ,As



                                      NORTHERN DIVISION
                                                                          L17g S     114 A     214
WALTER PETTAWAY
as administrator ofthe Estate
of Joseph Lee Pettaway, deceased,                               Civil Action
                       Plaintiffs,                              2:19-cv-0008
       versus                                              Jury Trial Demanded

NICHOLAS D. BARBER
and MICHAEL D. GREEN,
                       Defendants.


                        PLAINTIFF'S MOTION TO FILE UNDER SEAL

       Comes now plaintiff and moves the Court for an Order allowing plaintiff to file under seal
as Exhibit A to Plaintiffs contemporaneously filed Motion to Strike the Designation of
"Confidential" for Nicholas Barber's body cam recording. As grounds for this motion, plaintiff
does show and represent as follows:

       1. The Court's July 30,2020 Protective Order(Doc. 101)directs in paragraph(j)as follows:
                (j) ... information about which the parties disagree as to whether it
                should be confidential, but which disagreement has not been resolved
                by court ruling or order, shall not be filed publicly with the Court but
                shall instead be filed under seal with a notation that the information is
                confidential and subject to this Order.

       2. In response to subpoenas served on the City, in late August, 2020, counsel for the City
produced a number of rnaterials, many of which, contrary to the Court's Order, the City did not
designate any specific information contained in those documents as "confidential," but instead
erroneously designated the entire document as "confidential."

       3. One of these materials designated as confidential by City counsel is an audio-video
recording made by the body camera worn on occasion in question by defendant Nicholas Barber



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that shows, inter alia, a police dog under the control and direction of defendant Nicholas Barber
attacking plaintiffs decedent, Joseph Lee Pettaway, and the ensuing events.

        4. This video recording is one of the key and critical pieces of evidence in this case.
Plaintiffs counsel and City counsel disagree about the City's designation of this entire audio-video
recording as confidential and efforts to resolve this disagreement have not been successful.

        5. In order for the Court to resolve the issue of whether the City has met is burden of
establishing that this recording should be confidential, the Court will need to view that recording.

        These premises considered, plaintiff seeks leave to file under seal(a)the attached Exhibit
A, a flash drive containing this body cam recording and (b)an accompanying written time line of
the contents of this flash drive.



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                                       Certificate of Service
        I hereby certify that a true and correct copy of the foregoing has been served on this 11th
day of September, 2020, by hand delivery to counsel ofrecord as follows:
        Stacey Bellinger, Esq., at 103 North Perry Street, Montgomery, AL 36104
        Chris East, Esq., at 103 North Perry Street, Montgomery, AL 36104




                                              Of Counsel

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